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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF VIRGINIA
                              Norfolk Division

  UNITED STATES OF AMERICA

        v.
                                                       Case No. 2:18-cr-151
  ALEXANDER RUFFIN,

        Defendant.


                                OPINION & ORDER

       Before the Court is Defendant Alexander Ruffin’s Motion for Compassionate

 Release. ECF No. 40. For the reasons stated below, the motion is DENIED.

 I.    BACKGROUND

       On October 5, 2018, Defendant Ruffin pleaded guilty to one count of Possession

 with Intent to Distribute Cocaine Base in violation of 21 U.S.C. §§ 841 (a)(1) and

 (b)(1)(c), and one count of Felon in Possession of a Firearm in violation of 18 U.S.C.

 §§ 922(g)(1) and 924(a)(2). ECF No. 20 at 1; ECF No. 31 at 1.

       The defendant’s advisory sentencing guidelines range was 120 to 150 months.

 ECF No. 32 at 1 (SEALED). On January 31, 2019, the Honorable Henry Coke

 Morgan, Jr., to whom this case was previously assigned, sentenced the defendant to

 96 months of incarceration on each count to be served concurrently and five years of

 supervised release. ECF No. 31. 1


 1 On August 2, 2018, the defendant appeared in state court for an alleged probation

 violation. ECF No. 23 ¶ 44. He was sentenced to eight years of incarceration in the
 Virginia Department of Corrections with seven years and six months suspended. Id.
 The defendant has not yet served the suspended six months, which are to run
 consecutively. Id.; ECF No. 27 at 12. In addition, the Honorable Rebecca Beach Smith
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       The defendant filed a pro se motion for compassionate release on September

 21, 2020. ECF No. 37. In the motion, the defendant asked the Court to consider

 transferring him to home confinement or releasing him due to the COVID-19

 pandemic. Id. at 1–4. The case was then reassigned to the Honorable Roderick C.

 Young, who ordered the appointment of the Federal Public Defender (“FPD”) and

 directed FPD to file a supplemental motion for compassionate release. ECF No. 38

 ¶¶ 1–2. Through counsel, the defendant filed a motion for compassionate release on

 April 23, 2021. ECF No. 40. The government filed a response in opposition on May 7,

 2021. ECF No. 41. This case was next reassigned to the Honorable Elizabeth W.

 Hanes on October 5, 2022, and then to this Court on March 17, 2023.

 II.   LEGAL STANDARD

       A.     Exhaustion

       Before the court may consider a motion for sentence reduction under 18 U.S.C.

 § 3582(c)(1)(A)(i), the defendant must exhaust their administrative rights to appeal

 the Bureau of Prisons’ (“BOP”) failure to bring a motion on the defendant’s behalf. 18

 U.S.C. § 3582(c)(1)(A). Alternatively, once 30 days have passed after the defendant

 requested relief from the warden of their facility, the defendant may file a motion

 with the court as though they had exhausted their administrative remedies. Id.; see



 found the defendant in violation of his supervised release and sentenced him to a
 term of 18 months of incarceration, to run consecutive to any other state or federal
 sentence, including the instant case. SRV Violation Order, at 2, United States v.
 Ruffin, No. 2:11-cr-147, (E.D. Va. Nov. 16, 2018). Thus, the defendant received an
 additional 24 months of incarceration for the same underlying offense conduct and
 was sentenced to a total term of incarceration of 120 months in the instant case. ECF
 No. 32 at 3 (SEALED).
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 United States v. Muhammad, 16 F.4th 126, 131 (4th Cir. 2021) (clarifying that

 defendants may satisfy the exhaustion requirement by waiting 30 days from the date

 of their initial request to file a motion in the district court, even if the warden has

 already responded to their request). The exhaustion requirement “is a non-

 jurisdictional claim-processing rule” and therefore “may be waived or forfeited.”

 Muhammad, 16 F.4th. at 130.

       B.     Merits

       A court may modify a term of imprisonment under 18 U.S.C. § 3582(c)(1)(A)(i)

 if, after considering the sentencing factors in 18 U.S.C. § 3553(a), it finds that

 “extraordinary and compelling reasons warrant such a reduction.” See United States

 v. Hargrove, 30 F.4th 189, 194 (4th Cir. 2022). The overarching purpose of the

 compassionate release mechanism guides district courts’ consideration:

              When Congress authorized district courts, as a matter of
              discretion, to release an inmate from prison based on
              extraordinary and compelling reasons, it did so to
              introduce compassion as a factor in assessing ongoing
              terms of imprisonment, authorizing a district court to give
              greater weight to an inmate’s personal circumstances —
              when sufficiently extraordinary and compelling — than to
              society’s interests in the defendant’s continued
              incarceration and the finality of judgments. Thus, motions
              for relief under § 3582(c)(1)(A)(i) ask courts to balance the
              severity of the inmate’s personal circumstances, on the one
              hand, against the needs for incarceration, on the other.

 Id. at 197. Courts in this district have generally considered the defendant’s

 arguments regarding extraordinary and compelling reasons for sentence reduction

 first, then balanced the outcome of that analysis against the sentencing factors in

 section 3553(a). E.g., United States v. Ogun, No. 4:12-cr-4, 2023 WL 2207114, at *7

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 (E.D. Va. Feb. 24, 2023); United States v. Nurani, No. 2:11-cr-34-3, 2023 WL 2058649,

 at *3 (E.D. Va. Feb. 16, 2023).

              i.     Extraordinary & Compelling Reasons

       The Court may reduce a prisoner’s sentence under § 3582(c)(1)(A)(i) if it finds

 “extraordinary and compelling reasons” to do so. The prisoner bears the burden of

 demonstrating such reasons. See Hargrove, 30 F.4th at 195.

       The Sentencing Commission has promulgated a policy statement, U.S.S.G.

 § 1B1.13, which attempts to define what may constitute “extraordinary and

 compelling reasons.” United States v. McCoy, 981 F.3d 271, 276 (4th Cir. 2020). The

 Sentencing Commission recently amended the policy statement. Effective November

 1, 2023, the amended policy statement provides a non-exhaustive list of extraordinary

 and compelling reasons for reducing a sentence:

              (1)    the medical circumstances       of   the   defendant,
                     U.S.S.G. § 1B1.13(b)(1);

              (2)    the age of the defendant, U.S.S.G. § 1B1.13(b)(2);

              (3)    family circumstances of the defendant, U.S.S.G.
                     § 1B1.13(b)(3);

              (4)    whether the defendant was a victim of abuse while
                     incarcerated, U.S.S.G. § 1B1.13(b)(4);

              (5)    “other reasons,” U.S.S.G. § 1B1.13(b)(5); or

              (6)    an unusually long sentence, if the defendant meets
                     certain conditions, U.S.S.G. § 1B1.13(b)(6).

       As amended, the policy statement provides that extraordinary and compelling

 reasons exist, in the medical/health context, in three circumstances. First, where:


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              The defendant is suffering from a terminal illness . . .
              serious physical or medical condition . . . serious functional
              or cognitive impairment . . . [or] deteriorating physical or
              mental health because of the aging process . . . that
              substantially diminishes the ability of the defendant to
              provide self-care within the environment of a correctional
              facility and from which he or she is not expected to recover.

 U.S.S.G. § 1B1.13(b)(1)(A–B). Second, where:

              The defendant is suffering from a medical condition that
              requires long-term or specialized medical care that is not
              being provided and without which the defendant is at risk
              of serious deterioration in health or death.

 U.S.S.G. § 1B1.13(b)(1)(C). And third, where:

              . . . (i) The defendant is housed at a correctional facility
              affected or at imminent risk of being affected by (I) an
              ongoing outbreak of infectious disease, or (II) an ongoing
              public health emergency declared by the appropriate
              federal, state, or local authority;

              (ii) due to personal health risk factors and custodial status,
              the defendant is at increased risk of suffering severe
              medical complications or death as a result of exposure to
              the ongoing outbreak of infectious disease or the ongoing
              public health emergency described in clause (i); and

              (iii) such risk cannot be adequately mitigated in a timely
              manner.

 U.S.S.G. § 1B1.13(b)(1)(D)(i–iii).

              ii.    18 U.S.C. § 3553(a) Factors

       After completing the “extraordinary and compelling reasons” analysis, the

 Court must also consider the sentencing factors set forth in 18 U.S.C. § 3553(a).

 United States v. Mumford, 544 F. Supp. 3d 615, 618. Even if the Court finds

 extraordinary and compelling reasons to reduce a petitioner’s sentence, the Court

 may ultimately deny a motion for compassionate release if its analysis of the 18
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 U.S.C. § 3553(a) factors counsels against release. United States v. Bethea, 54 F.4th

 826, 831 (4th Cir. 2022) (The “court has discretion to grant or deny relief based on . .

 . the salient § 3553(a) factors.”). Those factors are:

              (1)    the nature and circumstances of the offense and the
                     history and characteristics of the defendant;

              (2)    the need for the sentence imposed—

                     (A)    to reflect the seriousness of the offense, to
                            promote respect for the law, and to provide
                            just punishment for the offense;

                     (B)    to afford adequate deterrence to criminal
                            conduct;

                     (C)    to protect the public from further crimes of the
                            defendant; and

                     (D)    to provide the defendant with needed
                            educational or vocational training, medical
                            care, or other correctional treatment in the
                            most effective manner.

              (3)    the kinds of sentences available;

              (4)    the kinds of sentence and the sentencing range
                     established [by the Sentencing Commission];

              (5)    any pertinent policy statement [issued by the
                     Sentencing Commission] [that is in effect on the date
                     the defendant is sentenced except as provided in
                     section 3742(g)];

              (6)    the need to avoid unwarranted sentence disparities
                     among defendants with similar records who have
                     been found guilty of similar conduct; and

              (7)    the need to provide restitution to any victims of the
                     offense.

 18 U.S.C. § 3553(a).

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 III.   ANALYSIS

        A.    Exhaustion

        The Court finds that the defendant has satisfied the exhaustion requirement.

 The defendant submitted a request for compassionate release to the warden of his

 BOP facility on June 10, 2020. ECF No. 40-1 at 3. The warden denied his request on

 June 16, 2020. Id. at 2. The parties agree that the defendant has satisfied the

 exhaustion requirements of 18 U.S.C. § 3582(c)(1)(A). See ECF No. 41 at 2.

        B.    Merits

        The defendant argues that his (1) susceptibility to COVID-19 illness due to his

 substance abuse disorder and race, alongside his (2) rehabilitation efforts, are

 extraordinary and compelling reasons that warrant a reduction in his sentence to

 time served. ECF No. 40 at 5, 10, 18. For the reasons stated below, the Court finds

 that none constitute extraordinary and compelling reasons justifying his release.

              i.     Extraordinary & Compelling Reasons

                     a.    COVID-19

        With respect to release due to COVID-19, the defendant must first show that

 his prison facility is at “imminent risk of being affected” by the virus. U.S.S.G

 § 1B1.13(b)(1)(D)(i). This requirement has not been met. The defendant is housed at




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 FCI Bennettsville. 2 As of July 12, 2024, the BOP has reported that 55.1% of FCI

 Bennettsville inmates are fully inoculated against COVID-19. 3

          There are currently three open cases of COVID-19 4 and the federal public

 health emergency has ended. 5 In March 2023, BOP reported two inmate deaths due

 to COVID-19 complications. See United States v. Farley, No. 5:20-cr-00018, 2023 WL

 2544328, at *1 n.1 (W.D.N.C. 2023) (discussing BOP’s COVID-related statistics for

 FCI Bennettsville). But to date, there have been no additional COVID-related deaths.

 Accordingly, the defendant has not met the first requirement.

          The second requirement, that the defendant’s personal health risk factors

 place him at an increased risk of suffering severe medical complications or death, is

 also not met. The defendant contends that his previous substance abuse and his race

 increase his susceptibility to COVID-19 illness. ECF No. 40 at 10–11. Although it is



 2 At the time the parties filed their briefs, the defendant was apparently housed at

 FCI Beckley. See ECF No. 45 at 1. But now, according to the BOP database online,
 he is housed at FCI Bennettsville. See BOP, Find An Inmate,
 https://www.bop.gov/inmateloc/ (last visited July 16, 2024). There is a low incidence
 of COVID-19 at both facilities. See BOP, Inmate COVID-19 Data,
 https://perma.cc/W9F8-5TS8 (last visited July 12, 2024) (noting that FCI Beckley,
 cited as “BEC” has “0 Open Cases” and “Covid-Related Deaths” while FCI
 Bennettsville, cited as “BEN,” has “3 Open Cases” and “2 Covid-Related Deaths”).
 Therefore, the Court’s analysis if the defendant were still housed at FCI Beckley
 would be the same.

 3 See BOP, Inmate COVID-19 Data, https://perma.cc/W9F8-5TS8 (last visited July 12,

 2024).

 4 Id.


 5 See Ctrs. for Disease Control and Prevention, End of the Federal COVID-19 Public

 Health Emergency (PHE) Declaration, https://perma.cc/AW8K-6AZF (last visited July
 16, 2024) (“May 11, 2023, marks the end of the federal COVID-19 PHE declaration.”).
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 true that substance abuse disorders have serious implications on an individual’s

 health, it is not a medical condition that the CDC recognizes as placing an individual

 at a higher risk. 6 Rather, the CDC categorizes substance abuse disorder as a

 suggestive higher risk, indicating a lack of either a published meta-analysis or

 systemic review. 7 Accordingly, the defendant’s underlying risk of substance abuse

 disorder does not weigh in favor of an extraordinary and compelling reason for early

 release. 8 ECF No. 40-2 at 1.

         The defendant also avers that as an African-American, he is more likely to

 suffer complications from COVID-19. ECF No. 40 at 10. While it is true that “people

 from racial and ethnic minority groups” are at increased risk of serious illness and

 death from COVID-19, 9 “most courts have decided that race . . . is not an



 6 See CDC, Underlying Medical Conditions, https://perma.cc/2V74-ZPGB (last visited

 July 15, 2024).

 7 Id.


 8 Even if substance abuse disorder was considered high risk, the defendant’s claim

 would still fail because he is fully vaccinated against COVID-19. ECF No. 40-2 at 1.
 Courts have determined that underlying conditions within the “higher risk” category,
 a category of risks demonstrating a conclusive increase in severe COVID-19 illness,
 are usually insufficient to count as extraordinary and compelling reasons justifying
 early release when the individual is vaccinated. See United States v. Davis, 99 F.4th
 647, 656 (4th Cir. 2024) (finding that the district court did not abuse its discretion
 when determining that the defendant’s type-2 diabetes, a CDC “higher risk” factor,
 was insufficient for granting compassionate release, because the defendant was
 immunized) (emphasis added); see also United States v. Brown, 78 F.4th 122, 129 (4th
 Cir. 2023) (noting that the defendant’s underlying risks of high blood pressure and
 obesity weren’t extraordinary or compelling reasons for early release, in light of the
 defendant’s refusal to become vaccinated against COVID-19).

 9 See CDC, People with Certain Medical Conditions, https://perma.cc/SA77-7SFJ (last

 visited July 15, 2024).
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 extraordinary and compelling reason for compassionate release.” United States v.

 Jackson, No. 3:16-cr-6, 2022 WL 1178513, at *3 (E.D. Va. Apr. 20, 2022) (collecting

 cases). As the CDC has noted, the increased risk that has been observed in racial

 minority groups is the product of “[p]ersistent health disparities combined with

 historic housing patterns, work circumstances, and other factors.” 10 In other words,

 “current evidence suggests a correlation, not causation.” United States v. Dimkpa,

 No. 1:19-cr-443, 2020 WL 4754901, at *2 (M.D.N.C. Aug. 17, 2020). And there is no

 evidence in the record that the defendant is unable to access medical care at his

 facility. See United States v. Leigh-James, No. 3:15-cr-188, 2020 WL 4003566, at *8

 (D. Conn. July 15, 2020) (noting that the CDC attributes “systemic health . . .

 inequities” to the rates of minority hospitalizations from COVID-19) (citation

 omitted).

       Taken together, the defendant’s asserted health conditions and demographic

 factors—including his substance abuse disorder and race—do not pose a

 particularized risk of serious illness from COVID-19.

       Because the defendant has not met his burden in establishing that he is

 “housed at a correctional facility affected or at imminent risk of being affected” by

 either “an ongoing outbreak of infectious disease” or “an ongoing public health

 emergency” and that he is “at increased risk of suffering severe medical complications

 or death” because of “personal health risk factors,” the defendant has not established




 10 CDC, CDC COVID-19 Response Health Equity Strategy, https://perma.cc/SE8V-

 EAD5 (last accessed July 16, 2024) (emphasis added).
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 an   extraordinary       and   compelling   reason   justifying   his   release.   U.S.S.G.

 § 1B1.13(b)(1)(D). 11

                         b.     Rehabilitation

        The defendant’s record of rehabilitation does not constitute an extraordinary

 and compelling reason to reduce his sentence either. The Court acknowledges that

 the defendant has made considerable rehabilitative efforts. While incarcerated, the

 defendant has completed educational courses, engaged in drug and mental health

 treatment, see ECF No. 40-4 at 1, and indicated a desire to complete further courses

 before release. See id. at 2. These attempts at rehabilitation are commendable;

 however, the policy statement clarifies that “rehabilitation of the defendant is not, by

 itself, an extraordinary and compelling reason,” but rather “may be considered in

 combination with other circumstances in determining whether and to what extent a

 reduction in the defendant’s term of imprisonment is warranted.” U.S.S.G.

 § 1B1.13(d). Here, the defendant has not identified other circumstances that qualify

 as extraordinary and compelling reasons for a sentence reduction. Thus, his

 rehabilitation alone cannot justify his release.

               ii.       Sentencing Factors

        Even if the Court determined that the defendant had demonstrated

 extraordinary and compelling reasons for relief, the Court concludes that his motion

 would fail under its analysis of the factors enumerated in 18 U.S.C. § 3553(a).



 11 Because the defendant fails to meet his burden of establishing the first two
 requirements, the third requirement, timeliness in “adequately mitigat[ing]” the
 personal health risk factors, need not be addressed. U.S.S.G. § 1B1.13(b)(1)(D)(iii).
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        The “nature and circumstances of the offense” for which the defendant was

 convicted are serious. The defendant was attributed 7.07 grams of cocaine, 1.95 grams

 of cocaine base, 9.5 grams of fentanyl, and a firearm with a serial number that was

 “obliterated.” ECF No. 23 ¶¶ 9, 12. The defendant received a two-point adjustment

 for possession of the firearm. Id. ¶ 20. Additionally, the defendant committed the

 instant offense while on supervised release. Id. ¶¶ 45, 48.

        Given these facts, there is a need for the sentence imposed “to reflect the

 seriousness of the offense, to promote respect for the law, and to provide just

 punishment for the offense.” 18 U.S.C. § 3553(a)(2)(A).

        As to the “history and characteristics of the defendant” the Court is

 particularly influenced by the defendant’s criminal history. That history is lengthy. 12

 The defendant committed the instant offense after serving a 48-month sentence for a

 prior felony drug conviction. ECF No. 23 ¶ 45. This history suggests a lack of respect

 for the law that counsels against relief. 13



 12 The defendant committed the instant offense at the age of 37. ECF No. 23 at 2,¶ 6.

 His criminal history spans over two decades. At age 16, he was convicted and
 sentenced for Hit and Run, Reckless Driving, Assault and Battery. ECF No. 23
 ¶¶ 32–33. At age 18, he was convicted for driving offenses, failing to appear and
 brandishing a firearm. Id. ¶¶ 37–38, 40–41. The next year, he was convicted and
 sentenced for Malicious Wounding and Use of a Firearm. Id. ¶ 44. At age 30, he was
 convicted and sentenced for Possession with Intent to Distribute Cocaine. Id. ¶ 45.
 Accordingly, the defendant is classified as a career offender, which carries an offense
 level of 32 and results in a criminal history category of VI. Id. ¶ 26–27.

 13 The defendant has argued that his designation as a career offender unduly inflated

 the sentencing guideline range for the instant offense. ECF No. 40 at 17. After
 reviewing the factors that impacted the sentence Judge Morgan imposed, the Court
 finds no reasons, and the defendant similarly provides no reasoning, as to why he
 should not have initially been given the designation.
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       The “kinds of sentences available” and the “sentencing range” also weigh

 against granting compassionate relief. The defendant’s advisory guidelines range was

 120 to 150 months. ECF No. 32 at 1 (SEALED). The defendant was sentenced to 96

 months on Count 1 and 96 months on Count 2, to run concurrently, resulting in Judge

 Morgan varying downward from the sentencing guidelines range. ECF No. 29 at 1.

 When fashioning a sentence that was sufficient but not greater than necessary, Judge

 Morgan’s 96-month sentence took into account the 24 months14 of incarceration the

 defendant received for violating the terms of his supervised release. ECF No. 32 at 3

 (SEALED). BOP projects that his release date is September 18, 2026. 15

       No single fact in the defendant’s background—whether positive or negative—

 swayed the Court’s determination as to the 18 U.S.C. § 3553(a) analysis, because the

 Court has—as it must—looked at the defendant’s background as a whole, including

 whether the passage of time has changed the balance. However, after weighing the

 facts enumerated in 18 U.S.C. § 3553(a), the Court finds that sentence reduction is

 not warranted.

       Because the defendant has not met his burden of demonstrating extraordinary

 and compelling reasons warranting a reduction in his sentence, and because the

 sentencing factors counsel against granting relief, the defendant’s motion will be

 DENIED.




 14 Supra note 1.


 15 BOP, Find An Inmate, https://www.bop.gov/inmateloc/ (last visited July 16, 2024).

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 IV.   CONCLUSION

       For the foregoing reasons, Defendant Alexander Ruffin’s Motion for

 Compassionate Release (ECF No. 40) is DENIED.

       The Clerk is DIRECTED to forward copies of this Opinion & Order to all

 counsel of record.

       IT IS SO ORDERED.


                                                     /s/
                                Jamar K. Walker
                                United States District Judge

 Norfolk, Virginia
 July 17, 2024




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